IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE
SIXTH JUDICIAL DISTRICT AT KNOXVILLE

CITY OF MONROE EMPLOYEES’ Case No. 163762-3
RETIREMENT SYSTEM, On Behalf of

Itself and All Others Similarly Situated, CLASS ACTION

PLAINTIFF’S REQUEST FOR
PRODUCTION OF DOCUMENTS

Plaintiff,
vs.

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CTI MOLECULAR IMAGING, INC., )
RONALD NUTT, TERRY D. )
DOUGLASS, WOLF-EKKEHARD )
BLANZ, ROY DOUMANI, JAMESR. _ )
HEATH, LEROY HOOD, HAMILTON?
JORDAN, WILLIAM W. MCINNES and ?
MICHAEL E. PHELPS,

Defendants.

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Pursuant to Rule 34 of the Tennessee Rules of Civil Procedure, plaintiff hereby demands CTI
Molecular Imaging, Inc., Ronald Nutt, Terry D- Douglass, Wolf-Ekkehard Blanz, Roy Doumani,
James R. Heath, Leroy Hood, Hamilton Jordan, William W. MclInnes and Michael E. Phelps
(collectively “Defendants”) to produce the documents described below for inspection and copying at
the law offices of Branstetter, Kilgore, Stranch & Jennings, 227 Second Avenue, North, 4th Floor,
Nashville, TN 37201-1631, 45 days after service, at 10:00 a.m., or at such other location and date
upon which the parties may mutually agree.

I DEFINITIONS
l. “You” and “your” refer to the person responding to these Requests.

2. “CTI Molecular Imaging” means CTI Molecular Imaging, Inc. and its predecessors,
successors, divisions, subsidiaries, officers, directors, employees, agents or anyone acting or

purporting to act on its behalf.

3. The term “Individual Defendants” means Ronald Nutt, Terry D. Douglass, Wolf-
Ekkehard Blanz, Roy Doumani, James R. Heath, Leroy Hood, Hamilton Jordan, William W.

Mcinnes and Michael E. Phelps.

4. “Siemens” means Siemens A.G. and any of its predecessors, successors, divisions,
parents, affiliates, subsidiaries, directors, employees, agents or anyone acting or purporting to act on

its behalf.

5. “Person” or “persons” means and refers to natural persons, proprietorships,
corporations, partnerships, trusts, joint ventures, groups, associations, organizations and

governmental agencies and other agencies.

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6. The term “Proposed Acquisition” means the proposed acquisition of CTI Molecular
Imaging by Siemens announced on March 18, 2005 pursuant to which CTI Molecular Imaging
shareholders would receive approximately $20.50 cash for each CTI Molecular Imaging share they

Own.

7. The term “Offer” means any proposal or expression of interest concerning any
acquisition, merger, consolidation, share exchange, business combination or other similar transaction
or series of related transactions involving CTI Molecular Imaging or any subsidiary of CTI
Molecular Imaging or any offer to purchase, tender offer, exchange offer or any similar transaction
or series of related transactions made by any person involving 5% or more of the outstanding shares

of any class of CT! Molecular Imaging securities.

8. The term “business relationship” refers to any relationship, whether formal, informal,
contractual or legal, concerning any employment, occupation, profession, ownership or equity
interest for monetary gain, personal gain or livelihood. “Business relationship” shall also include,

without limitation, any monetary, financial or labor investment.

9. The term “loans” means any financial arrangement created or secured by, with,
through or because of either CTI Molecular Imaging or Siemens which allows or allowed any of the
Individual Defendants to acquire money or any other consideration from CTI Molecular Imaging,

Siemens or a third party.

10. The term “document” or “documents” is intended to be interpreted in the broadest
possible sense and includes, but is not limited to, all electronic data and all communications which
are stored or retrievable or recorded in any manner and also includes, without limitation, any writing
or other record of information or images, including, but not limited to, print, handwriting,

photographs, film, recordings, memoranda, books, records, accounts, ledgers, vouchers, invoices,

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drafts, bills, charge slips, letters, electronic mail or “e-mail,” compact discs, CD-ROM discs,
magnetic tape, videotape, magnetic or optical disks, “floppy disks,” “PowerPoint” or other
presentation software systems, telegrams, mailgrams, correspondence, notes and minutes of
meetings, conversations or telephone calls, resolutions, interoffice memoranda, work papers, reports,
projects, tabulations, studies, surveys, legal complaints and other pleadings, affidavits,
interrogatories, legal briefs, legal motions, judgments, designs, drawings, schematics, maps,
manuals, models, notebooks, contracts, agreements, diaries, telephone records, desk calendars,
appointment books, circulars, charts, transcripts, news releases, trade releases, advertisements, press
books, teletype messages, licenses, financial statements, stenographers' notebooks, punchcards,
computer printouts and data, telecopier or facsimile transmissions and printouts, letters of credit,
stock certificates and securities. The term "document" also includes preliminary drafts or revisions
or copies of any such document if the copy is in any way different from the original, now in your
possession, custody or control, or in the possession, custody or control of your advisors, agents,
employees, servants, representatives, trustees, counsel or other persons acting or purporting to act on

your behalf.

ll. The term “electronic data” refers to any original and any non-identical copies
(whether non-identical because of notes made on copies or attached comments, annotations, marks,
transmission notations, or highlighting of any kind), of mechanical, facsimile, electronic, magnetic,
digital or other programs (whether private, commercial, or work-in-progress), pro gramming notes or
instructions, activity listings of electronic mail receipts or transmittals, output resulting from the use
of any software program, including word processing documents, spreadsheets, database files, charts,
graphs and outlines, electronic mail or “e-mail,” personal digital assistant (“PDA”) messages, instant

messenger messages, operating systems, source code of all types, programming languages, linkers

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and compilers, peripheral drives, PDF files, PRF files, batch files, ASCII files, crosswalks, code
keys, pull down tables, logs, file layouts and any and all miscellaneous files or file fragments,
regardless of the media on which they reside and regardless of whether said electronic data consists
of an active file, deleted file or file fragment. “Electronic data” also includes any and all items
stored on computer memory or memories, hard disks, floppy disks, zip drives, CD-ROM discs,
Bernoulli Boxes and their equivalents, magnetic tapes of all types and kinds, microfiche, punched
cards, punched tape, computer chips (including, but not limited to, EPROM, PROM, ROM or RAM
of any kind) on or in any other vehicle for digital data storage or transmittal, files, folder tabs, or
containers and labels appended to or associated with any physical storage device associated with

each original and each copy.

12. The term “Financial Statements” includes, but is not limited to, interim, final, pro
forma, actual, projected, complete, or partial, annual, quarterly, monthly, weekly or otherwise,
audited or unaudited, budgets, budget plans, balance sheets, schedules of direct costs, schedules of
miscellaneous income, schedules of general services, fiscal serviceman administrative services,
statements of earnings and earnings per share, income statements, cash flow statements, statement of
revenues and statements of expenses, all notes or other commentary concerning any of the foregoing
and all underlying workpapers and all drafts used in connection with the preparation of any of the

foregoing.

13. The term “telephone records” includes, without limitation, telephone directories,
rolodexes, messages, telephone logs, recordings of telephone conversations and telephone bills (local

and long distance).

14. “Communication” or “communications” refers to any exchange of information by any

means of transmission, sending or receipt of information of any kind by or through any means

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including, but not limited to, speech, writings, documents, language (machine, foreign or otherwise)
of any kind, computer electronics or electronic data, sound, radio or video signals,
telecommunication, telephone, teletype, facsimile, telegram, microfilm, microfiche, photographic
film of all types or other media of any kind. The term “communication” also includes, without
limitation, all inquiries, discussions, conversations, correspondence, negotiations, agreements,
understandings, meetings, notices, requests, responses, demands, complaints, or press, publicity or

trade releases.

15. The term “concerning” shall mean constituting, evidencing, reflecting, incorporating,
effecting, including, or otherwise pertaining or relating, either directly or indirectly, or being in any
way logically or factually connected with the subject matter of the inquiry or Request. Requests for
“documents conceming” any subject matter include documents concerning communication regarding

that subject matter.

16. “Identify” when used to refer to a natural person, shall mean to set forth that person’s:
(i) full name and title, if any; (ii) present or last known address; (iii) present or last known business

and home telephone number(s); and (iv) present or last known employer.

17. “Identify” when used to refer to a document, shall mean: (i) the date of each
document; (ii) the type of each such document (/.e. correspondence, memorandum, business record,
etc.); (iii) the identity of the author(s) or preparer(s) of each such document; and (iv) the present

location of each such document or copies thereof.

18. The terms “all” and “each” shall be construed as all/each.

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19. The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the request all responses that might otherwise

be construed to be outside of its scope.
20. “SEC” means the Securities and Exchange Commission.

21. “SEC filings” means all documents filed or prepared for the purpose of filing with the
SEC and any other state or federal regulatory agency, including, but not limited to, Forms 8-K, 10-K,

10-Q, Schedules TO-T, 13-D, 14A, 14D-1 and 14D-9 and any drafts thereof or amendments thereto.

Il. INSTRUCTIONS

1. In responding to these document Requests, you shall produce separately all
documents available at the time of responding or which can be located or discovered by reasonably
diligent efforts, including documents in the possession of your agents and representatives.

2. References to an individual, partnership, limited liability company or corporation
include any and all agents, employees, representatives and attorneys and all other persons or entities
acting on your behalf or under your control.

3, If you claim any form of privilege or any other objection, whether based on statute,
common law or otherwise as a ground for not producing any requested document, please furnish a
list identifying each document for which the privilege or other objection is claimed together with the
following information: date, sender, recipient, persons to whom copies were furnished together with
their job titles, subject matter, basis on which privilege or other objection is claimed and the number
of each Request to which such document responds, If you claim privilege or any other objection
with regard to only part of a document, produce the part to which there is no objection.

4, If you are aware of any documents or copies thereof that may be responsive to these

Requests but are no longer in your possession, custody or control, or have been lost or destroyed,

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identify each document in detail, including whether: (i) the document is missing, lost or destroyed;
(ii) the document has been transferred or delivered to another person and, if so, at whose request;
(iii) who prepared it; (iv) to whom it was prepared for and sent to; (v) when it was prepared or sent;
(vi) the content of the document; (vii) the person who destroyed it, and (vili) why it was lost or
destroyed.

5. If any individual Request is ambiguous in any way, please send a letter to the
undersigned counsel describing the ambiguity and it will be promptly clarified in a reply letter. If
any individual Request (or subpart thereof) is deemed to be unduly burdensome, please send a letter
to the undersigned counsel specifying the reasons why the Request is unduly burdensome and stating
whatever information and knowledge you have of the information or documents called for in the
Request, and (generally) an attempt will be made to rephrase the Request (or subpart thereof) in a
reply letter to lessen the burdens of compliance. Any such reply letter may be treated by the parties
to whom it is addressed as a modification of the particular Request.

6. Unless words or terms have been given a specific definition herein, each word or term
used herein shall be given its usual and customary dictionary definition except where such words
have a specific custom and usage definition in your trade or indusiry, in which case they shall be
interpreted in accordance with such usual custom and usage definition of which you are aware. In
construing the Requests herein: (i) the singular shall include the plural and the plural shall include
the singular; and (ii) a masculine, feminine or neuter pronoun shall not exclude the other genders, all
to the end that the interpretation applied results in the more expansive production.

7. In making production, produce all documents as kept in the normal course of business

and identify the file from which each document was taken.

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Ili. TIME PERIOD

Unless stated otherwise, the time period to which these Requests refer is January 1, 2004
through the date of production. If a document prepared before this period is necessary for a correct
or complete understanding of any document covered by a Request, you must produce the earlier or
subsequent document as well. If any document is undated and the date of its preparation cannot be

determined, the document shall be produced if otherwise responsive to the production Request.

IV. DOCUMENTS REQUESTED
REQUEST NO. 1:

CTI Molecular Imaging’s Articles of Incorporation and Bylaws, including, without
limitation, all amendments or changes thereto.

REQUEST NO. 2:

All minutes (with exhibits/attachments) of all meetings of the Board of Directors of CTI
Molecular Imaging or any committee or subcommittee thereof, where there was discussion of any
Offer (including, without limitation, the Proposed Acquisition), or of any efforts which could result
in an Offer, including, without limitation, the minutes (with exhibits/attachments) of other meetings

referenced therein.

REQUEST NO. 3:

All documents reviewed by the Individual Defendants or reviewed by any officer, executive
or financial advisor of CTI Molecular Imaging concerning any Offer (including, without limitation,
the Proposed Acquisition) or of any efforts which could result in an Offer.

REQUEST NO. 4:

Each Agreement and Plan of Merger contemplated by Siemens and CTT Molecular Imaging,

all related exhibits and schedules, and all drafts thereof.

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REQUEST NO. 5:

All documents concerning communications concerning any Offer (including, without
limitation, the Proposed Acquisition) or of any efforts which could result in an Offer or any other
strategic alternatives, including, without limitation:

(a) all internal communications of CTI Molecular Imaging or between CTT
Molecular Imaging and Siemens, including, without limitation, executive summaries, memoranda or
electronic mail;

(b) all communications between any of the Individual Defendants, including,
without limitation, electronic mail, faxes or letters transmitted outside the office;

(c) all communications between CTI Molecular Imaging and any potential
acquirers of CT] Molecular Imaging;

(@) all communications between any of the Individual Defendants and Siemens;

{e) all communications between CTI Molecular Imaging and any financial
institution, accounting firm, auditing firm, investment banking firm or advisor; and

all communications sent to, or prepared to be sent to, any person on behalf of
CTI Molecular imaging.

REQUEST NO. 6:

All documents concerning the engagement or retention of any financial institution,
accounting firm, auditing firm or investment banking firm to provide services concerning any Offer
(including, without limitation, the Proposed Acquisition), or of any efforts which could result in an

Offer, other strategic alternatives or services concerning the valuation of CTI Molecular Imaging.

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REQUEST NO. 7:

All personal files, expense reports or logs, diaries, notebooks, notes, date books, calendars,
appointment books, address books or Telephone Records maintained by or for the Individual
Defendants or by or for any CTI Molecular Imaging officer or executive concerning any Offer
(including, without limitation, the Proposed Acquisition).

REQUEST NO. 8:

All documents concerning financial due diligence concerning any Offer (including, without
limitation, the Proposed Acquisition) or any other strategic alternatives.

REQUEST NO. 9:

All appraisals, analyses, opinions, reviews, Financial Statements or other documents
concerning the financial results, value, market value, fair value, or inherent value of the stock or any
of the assets or businesses of CTI Molecular Imaging.

REQUEST NO. 10:

All financial projections, budgets and plans of future operations concerning CTI Molecular
Imaging.

REQUEST NO. 11:

All documents concerning assumptions underlying any analyses, opinions, or projections
concerning CTI Molecular Imaging.

REQUEST NO. 12:

All documents provided by CTI Molecular Imaging and/or the Individual Defendants to any

financial institution, accounting firm, auditing firm, investment banking firm or advisor.

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REQUEST NO. 13:

All documents provided by any financial institution, accounting firm, auditing firm,
investment banking firm or advisor to CTI Molecular Imaging and/or the Individual Defendants.

REQUEST NO. 14:

All documents concerning the business relationship between CTI Molecular imaging and any
of its affiliates or subsidiaries and Siemens and any of their affiliates or subsidiaries (including the
Individual Defendants) including, without limitation, any management agreements, consulting
agreements, or any other agreements without regard to the Time Period.

REQUEST NO. 15:

All confidentiality agreements entered as a result of discussions concerning any Offer,

including, without limitation, the Preposed Acquisition.

REQUEST NO. 16:

All documents concerning any opinion from any investment banking firm concerning the
fairmess of the Proposed Acquisition,

REQUEST NO. 17:

All documents concerning any actual or proposed consideration, including any potential
adjustments to such consideration, to be paid to CTI Molecular Imaging shareholders as a result of
the consummation of any Offer (including, without limitation, the Proposed Acquisition).

REQUEST NO. 18:

All documents concerning any business relationship between CTI Molecular Imaging and
any Individual Defendant, or between any of the Individual Defendants, including, without

limitation, any management agreement, partnership agreement, consulting agreement or any other

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agreement. (This Request is made without regard to the “Time Period” limitation set forth in Section
Il herein.)

REQUEST NO. 19:

All documents identifying any business affiliations between any of the Individual
Defendants, or between any of the Individual Defendants and Siemens, or between any of the
Individual Defendants and CTI Molecular Imaging, including, without limitation, common board
memberships or common membership in any business organization.

REQUEST NO. 20:

All documents sufficient to identify the individual directors, officers and managerial-level
employees of CTI Molecular Imaging, their duties and responsibilities, their respective dates of
service and any vested or unvested options to purchase CTI Molecular Imaging stock, and if any
such persons have resigned or been terminated or removed, all documents concerning such
resignation, termination or removal and the reasons therefore.

REQUEST NO. 21:

All documents concerning each of the Individual Defendants’ purchases, sales, gifts, grants,
options, or ownership, either directly, indirectly or beneficially, of CTI Molecular Imaging or
Siemens securities of any type or class, including, without limitation, documents summarizing: (1)
stock held by the Individual Defendants; and (2) options held by the Individual Defendants, their
grant date, vesting date, exercise date, expiration date, price and amount or proceeds to be realized
from cancellation or cash-out due to any Offer (including, without limitation, the Proposed

Acquisition). (This Request is made without regard to the “Time Period” limitation set forth in

Section ITI herein.)

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REQUEST NO, 22:

All documents concerning the Individual Defendants’ or any CTI Molecular Imaging officer's
compensation, employment, severance, retention bonus, non-competition, change-of-control, or
consulting agreements, or other corporate perquisites, including, without limitation, executed and all
draft copies of any such agreements. (This Request is made without regard to the “Time Period”
limitation set forth in Section HI herein.)

REQUEST NO. 23:

All documents concerning the proposed, potential, anticipated, or agreed-upon capital
structure of the surviving entity or entities, upon or following consummation of the Proposed
Acquisition.

REQUEST NO: 24:

All documents identifying the directors of the surviving entity or entities following

consummation of the Proposed Acquisition.

REQUEST NO. 25:

All documents concerning loans made by CTI Molecular Imaging or Siemens to any of CTI
Molecular Imaging’s officers or to any of the Individual Defendants, or any agreements by which
any of the CTI Molecular Imaging’s officers or Individual Defendants borrowed money or received
any incentives or any gifts from CTI Molecular Imaging or Siemens. (This Request is made without
regard to the “Time Period” limitation set forth in Section HI herein.)

REQUEST NO. 26;

All indemnification agreements entered into between CTI Molecular Imaging and any of the
Individual Defendants which may be invoked in connection with this action. (This request is made

without regard to the “Time Period” limitation set forth at Section II herein.)

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REQUEST NO. 27:

All documents concerning any presentations made by or on behalf of any investment banking
institution, financial institution, financial advisor, appraiser, tax advisor or accountant to any
defendant concerning any Offer (including, without limitation, the Proposed Acquisition).

REQUEST NO, 28:

All non-public documents given to potential purchasers of CT! Molecular Imaging regarding
the sale of CTI Molecular Imaging (including bankers’ presentation books).

REQUEST NO, 29:

All documents concerning any actual or proposed changes in the terms of the Proposed
Acquisition or the right or option to terminate, amend or modify the terms of the Proposed
Acquisition.

REQUEST NO. 30:

All documents concerning any change in the price of CTI Molecular Imaging shares since the
announcement of the Proposed Acquisition.

REQUEST NO, 31:

All documents concerning press releases, published articles, financial analysts’ reports and
rating agencies’ reports, and all drafts thereof, concerning CTI Molecular Imaging.

REQUEST NO. 32:

All documents concerning SEC filings concerning any Offer (including, without limitation,
ihe Proposed Acquisition), any other strategic alternatives, including, without limitation, dratts of

past filings and drafts of documents to be filed with the SEC.

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REQUEST NO. 33:

All documents concerning any policy, procedure or practice concerning the preservation or
destruction of the documents or electronic data or types of documents or electronic data sought

herein.

REQUEST NO. 34:

All documents concerning insurance polices or indemnification agreements that may provide
coverage to any Individual Defendant or CTI Molecular Imaging, individually or collectively, for
any claims or causes of action asserted in this action or that may provide reimbursement for
payments made in defense of this action, including, without limitation, loss mitigation insurance or
Hiability-sharing arrangements, including options to purchase such insurance or sharing
arrangements, whether acquired before or after the initiation of the litigation.

REQUEST NO. 35:

All documents concerning any stockholder agreements and/or voting agreements between

Siemens and any stockholders of CTI Molecular Imaging.

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DATED: April 4, 2005 ARNETI, DRAPER, & HAGOOD
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DANIEL D. RHEA

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865/546-0423 (fax)

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JAMES G. STRANCH, UI, #2542

J. GERARD STRANCH, IV, 23045

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DARREN J. ROBBINS

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Attorneys for Plaintiff

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing has been sent,
via hand delivery to Hunton & Williams, and via facsimile to Alston & Bird, LLP on this 4th day of
April, 2005.

John Lucas

HUNTON & WILLIAMS, LLP
2000 Riverview Tower

900 South Gay Street
Knoxville, TN 37902

Scott P. Hilsen

Alston & Bird, LLP

One Atlantic Center

1201 West Peachtree Street
Atlanta, GA 30309-3424 we)

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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE
SIXTH JUDICIAL DISTRICT AT KNOXVILLE

CITY OF MONROE EMPLOYEES’ Case No, 163762-3
RETIREMENT SYSTEM, On Behalf of

Itself and All Others Similarly Situated, CLASS ACTION

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Plaintiff, )

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v3. )

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CTI MOLECULAR IMAGING, INC., +)
RONALD NUTT, TERRY D. )
DOUGLASS, WOLF-EKKEHARD )
BLANZ, ROY DOUMANI, JAMESR. )
HEATH, LEROY HOOD, HAMILTON
)

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JORDAN, WILLIAM W. MCINNES and
MICHAEL E. PHELPS,

Defendants.

PLAINTIFF'S MOTION FOR EXPEDITED DISCOVERY

Plaintiff hereby moves the court for an order expediting discovery as set forth in
Plainuff's Memorandum in Support of its Motion for Expedited Discovery filed
contemporaneously. Absent court intervention, the shareholders of CTI Molecular
Imaging, Inc. (“CTTI’ or the “Company’), a Delaware corporation headquartered in
Knoxville, Tennessee, will be forced, by midnight on April 28, 2005 ~— without the
benefit of information that the law specifically requires to be disclosed -- to decide

whether to accept a patently inadequate tender offer of $20.25 per share for their CTI

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shares ("Proposed Acquisition") by Siemens AG ("Siemens"). April 28, 2005 is long
before an answer to the complaint or discovery responses are due, hence absent expedited
discovery, Plaintiffs will not be able to present the Court with a complete factual record
for the Preliminary Injunction motion that Plaintiffs plan to file before the close of the
tender offer.

Given that CTT's shareholders will be irreparably injured if required to decide
whether to tender their shares without the benefit of all required material information,
fundamental notions of fairness without question weigh decisively in favor of defendants
being required to make discovery available a few days or weeks earlier than they
otherwise will have to. Accordingly, plaintiff's motion for limited expedited discovery
and a hearing and briefing schedule on a motion for preliminary injunction should be

granted.

DATED: April 5, 2005 Respectfully Submitted,

‘ARNETT, DRAPER, & HAGOOD

Barut 2. tha Al ta atizet-
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STRANCH & JENNINGS

JAMES G. STRANCH, II, #2542

J. GERARD STRANCH, IV, #23045

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Attomeys for Plaintiff

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CERTEFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing has
been sent, via hand delivery to Hunton & Williams, and via facsimile to Alston & Bird,
LLP on this 5th day of April, 2005.

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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE
SIXTH JUDICIAL DISTRICT AT KNOXVILLE

CITY OF MONROE EMPLOYEES’
RETIREMENT SYSTEM, On Behalf of
Itself and All Others Similarly Situated,

Case No. 163762-3

CLASS ACTION

PLAINTIFFS’ MEMORANDUM IN
SUPPORT OF ITS MOTION FOR
EXPEDITED DISCOVERY

Plaintiff,

Vs.

RONALD NUTT, TERRY D.
DOUGLASS, WOLF-EKKEHARD
BLANZ, ROY DOUMANI, JAMES R.
HEATH, LEROY HOOD, HAMILTON
JORDAN, WILLIAM W. MCINNES and

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CTI MOLECULAR IMAGING, INC., )
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MICHAEL E. PHELPS,

Defendants.

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I. INTRODUCTION

Absent court intervention, the shareholders of CTT Molecular Imaging, Inc. (“CTT or the
“Company”), a Delaware corporation headquartered in Knoxville, Tennessee, will be forced, by
midnight on April 28, 2005 -- without the benefit of information that Delaware law! specifically
requires to be disclosed -- to decide whether to accept a patently inadequate tender offer of
$20.25 per share for their CTI shares ("Proposed Acquisition”) by Siemens AG ("Siemens").

As alleged in the Complaint, rather than complying with their duty to maximize
shareholder value, CTT's directors agreed to the Proposed Acquisition to benefit themselves and
long-time business partner Siemens. Further to that end, on April 1, 2005, defendants issued a
materially defective and misleading Schedule 14D-9 recommendation statement to CTI's
shareholders that fails to disclose critical information, including any information whatsoever
concerning the financial analyses performed by CTI's financial advisor, Bear, Stearns & Co, Inc.
(“Bear Stearns”), in connection with the fairness opinion it presented to the CTI Board. This
information must be disclosed under Delaware law. See In re Pure Res., Inc., S‘holders Litig.,
808 A.2d 421, 449 (Del. Ch. 2002); Alidina v. Internet.com Corp., No. 17235, 2002 Del. Ch.
LEXIS 156, at *37 (Del. Ch. Nov. 6, 2002).

Because the process and price of the Proposed Acquisition are unfair, plaintiff City of
Monroe Employees’ Retirement System intends to seek an order -- prior to the expiration of the
tender offer at midnight on April 28, 2005 -- enjoining the Proposed Acquisition. In order to
present as complete a record as possible to the Court on that injunction motion, plaintiff needs to

complete certain limited expedited discovery, as detailed more fully below. Tennessee’s Rules

' See Bayberry Assocs. v. Jones, 783 S W.2d 553, 558-59 (Tenn, 1990) (applying the law of the state of
incorporation to shareholder's fiduciary duty claims since “the relationships among the ... directors and stockholders
_.. involve matters peculiar to corporations ....”). Unless otherwise indicated, all emphasis is added and all citattons

are omitted.

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of Civil Procedure (“Tenn. R. Civ. P.”) specifically permit its courts to shorten the normal time
for responding to discovery when fundamental notions of fairness so require. See, e.g., Tenn. R.
Civ. P. 30, 33 and 34.02. Given that CTI's shareholders will be irreparably injured if required to
decide whether to tender their shares without the benefit of all required material information,
fundamental notions of fairness without question weigh decisively in favor of defendants being
required to make discovery available a few days or weeks earlier than they otherwise will have
to. Accordingly, plaintiffs motion for limited expedited discovery and a hearing and briefing
schedule on a motion for preliminary injunction should be granted.
Il RELEVANT FACTUAL SUMMARY

CTI, a Delaware corporation with its principal executive offices located in Knoxviile,
Tennessee, is a manufacturer of positron emission tomography (“PET”) imaging equipment and
related molecular imaging products used in the detection and treatment of cancer, cardiac
disease, and neurological disorders. See Complaint 8. The Company’s product line for PET
includes scanners, cyclotrons, micro PET animal scanners, radio pharmaceuticals, detector
materials, medical image analysis applications and support services. [8

On March 18, 2005, the Company issued a press release entitled “Siemens to Acquire
CTI Molecular Imaging.” On the same day, defendants filed a form 8-K with the Securities and
Exchange Commission (“SEC”) announcing the Proposed Acquisition and including a copy of
the agreement and plan of merger, certain stockholder support agreements, and amendments to a
change in control agreement. On March 22, 2005, plaintiff filed this action, seeking equitable
relief against the members of CTI’s board of directors (the “CTI Board”) and alleging breaches
of fiduciary duty in connection with the sale of the Company. Since the filing of plaintiff's

Complaint, events have taken place that have made the instant motion necessary.

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Specifically, on April 1, 2005, defendants and Siemens filed with the SEC and
disseminated to CTI’s public shareholders Schedules 14D-9 and 14D-1 (the “Tender Offer
Documents”) purporting to explain certain aspects of the Proposed Acquisition, including,

- among other things, defendants’ reasons for approving the Proposed Acquisition and
recommending that shareholders tender their shares to Siemens. However, the Tender Offer
Documents are materially deficient in that they fail to disclose, among other things, any
information at all concerning the analyses performed by CTI’s financial advisor, Bear Sterns, in
connection with the fairness opinion it presented to the CTI Board. The Tender Offer
Documents also fail to disclose materia! information concerning defendants’ conflicts of interest
in agreeing to the Proposed Acquisition, including their roles with the Company going forward _
and the substantial benefits to be received by them as a result of the immediate vesting and
exercisability of their otherwise unvested and/or unexercisable stock. options, restricted stock,
stock units and warranis.

Counsel for plaintiff engaged in discussions with defense counsel on April 1, 2005, and
again on April 4, 2005, regarding whether defendants would agree to an expedited discovery
schedule. Defendants refused to do so, thus necessitating this motion.

Wh. = =6LIMITED EXPEDITED DISCOVERY IS NECESSARY AND APPROPRIATE
UNDER THESE CIRCUMSTANCES

A. This Court is Authorized to Grant the Expedited Discovery Plaintiff Seeks

“(T]he course of pretrial discovery is. in large measure, left to the discretion of the trial judge
and ... the exercise of this discretion is based upon the broad parameters of the rules and fundamental
notions of fairness.” Vythoulkas v. Vanderbilt University Hosp., 693 §.W.2d 350 (Tenn. App. 1985);

accord Willingham ¥ Shelby County Election Comm'n, 2004 Tenn. App. LEXIS 825, at *7-*8 (Tenn.

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Ct. App,, 2004) (recognizing the long standing rule that “decisions regarding pre-trial discovery matters
rest within the sound discretion of the trial court.”), Furthermore, Tennessee’s discovery statutes have
expressly provided for expedited discovery where the slower pace of normal pretrial discovery will
prejudice the party seeking relief. For example, Tenn. R. Civ. P. 30, 33 and 34.02, each provide the
Court with discretion to shorten the normal time for discovery:
RULE 30: DEPOSITIONS UPON ORAL EXAMINATION
Rule 30.01: When Depositions May Be Taken.
After commencement of the action, any party may take the testimony of any
person, including a party, by deposition upon oral examination. Leave of court, granted
with or without notice, must be obtained only if the plaintiff seeks to take a deposition
prior to the expiration of 30 days after service of the summons and complaint .. . .
RULE 33: INTERROGATORIES TO PARTIES
Rule 33.01. Availability; Procedures for Use.
... The party upon whom the interrogatories have been served shall serve a copy
of the answers, and objections if any, within 30 days after the service of the
interrogatories, except that a defendant may serve answers or objections within 45 days
after service of the summons and complaint upon that defendant. The court may allow a
shorter or longer time....
RULE 34.02: PRODUCTION OF DOCUMENTS [PROCEDURE]

* OR OF

The party upon whom the request is served shall serve a written response within 30 days
after the service of the request, except that a defendant may serve a response with 45 days
after service of the summons and complaint upon the defendant. The court may allow a
shorter or longer time... .

(Emphasis added.)
Numerous Tennessee Appellate decisions also have recognized the right to and need for

expedited discovery. In Sunburst Bank v. Patterson, 971 §.W.2d 1 (Tenn. App. 1997), residents

of Mississippi purchased a home in Shelby County and took out a mortgage on the property with

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Sunburst. Because of a failure to file proper forms as to where the tax bills were to be paid, a
suit was eventually brought and the property was sold. The Bank and the residents, who had first
bought the house, brought suit and moved for and were granted the opportunity to conduct
expedited discovery. Id. at 2.

In Willingham, 2004 Tenn. App. LEXIS 825 at *3-*4, the Court recognized that
discovery can easily be served and answered under a compressed time frame. In Willingham, the
discovery at issue was served and answered in less than 10 business days. Id at *3-*4.

Similarly, in Terminix Int'l Co., L.P. v. Tapley, 1997 Tenn. App. LEXIS 346 (Tenn. Ct.
App., 1997), two employees of the plaintiff, Terminix, who had signed covenants not to
compete, resigned their employment and subsequently started their own pet control business, Id.
at *2, Terminix filed suit to enjoin its former employees. On the same day the case was filed,
the court granted expedited discovery to all parties. Jd at 2, And, depositions were scheduled
within 5 days of service of process. Id at 3. Thus, it is well established that Tennessee courts
can authorize expedited discovery when necessary, as here, to avoid undue prejudice,

Delaware Chancery Courts, which deal regularly with issues involving corporate
acquisitions, routinely permit expedited discovery in actions like this one challenging a
corporate acquisition.” As the court in American Stores Co. v. Lucky Stores, Inc., Del.

Ch., C.A. No. 97665, Allen, C., slip op. at 3-4 (Apr. 13, 1988) (attached hereto as Exhibit
A) stated:
[t]he granting of [an expedited discovery motion] is quite conventional in
litigation of this type for very good reason[s]. Cases involving contests for
corporate control are of necessity very fast-moving. Unlike the classic madel of

litigation which those who formulated the rules no doubt had in mind, (ie., a
constellation of fixed, historical facts up which a claim is based}, takeover cases

2 Although Tennessee procedural rules apply to plaintiff's claims, because CTI was incorporated in
Delaware, the substantive law of Delaware applies to plaintiff's claims. See supra n.1.

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are fluid, constantly changing affairs, or almost so. In some instances, the

underlying subject matter of the suit ~ control of the corporation — may itself be

fully resolved before the time of taking depositions under Rule 30 may have

arrived. Even in this context, plaintiff must show some reason justifying

departure from the sequence envisioned by the rules, but in this context such a

showing will be easier to make.

The presence of a transaction of some sort, 4 shareholders meeting, the closing of

4 tender offer or the closing of some structural transaction (a recapitalization, sale

of substantial assets, etc.), is typically the reason in such cases to permit expedited

discovery. Here I am satisfied that there is legitimate need for expedited

discovery and will therefore order that plaintiff may institute any discovery now

contemplated by our rules.
American Stores Co., Del. Ch., C.A. No. 97665, Allen, C., slip op. at 3-4; In re International
Jensen Inc. Shareholders Litig., Del. Ch., C.A. No. 14992, Jacobs, V.C., slip op. at 2 July 16,
1996) (attached hereto as Exhibit B) (“[a] party’s request to schedule an application for a
preliminary injunction, and to expedite the discovery related thereto, is normally routinely
granted. Exceptions to that norm are rare.”); see also Harmony Mill LP. v. Magness, No. 7463,
1984 Del. Ch, LEXIS 419, at *3-*5 (Del. Ch. Feb. 14, 1984).

Likewise, numerous federal courts permit expedited discovery in similar circumstances.
See, e.g., Ronson Corp. v. Liquifin Aktiengeselischaft, 483 F.2d 846, 848 (3d Cir. 1973) (district
court directed expedited discovery in a case involving allegations that defendants made
misrepresentations and omissions in connection with a tender offer); Mesa Petroleum, 406 F,
Supp. at 917 (in a case concerning a corporate acquisition offer, the court ordered that an
expedited discovery program be adopted), Grimes v. Vitalink Communications Corp., 17 F.3d
1553, 1555 (3d Cir. 1994) (expedited discovery used in suit concerning allegations that the
defendants breached their fiduciary duties in approving a merger); Evmar Oil Corp. v. Getty Ou
Co., No. 76-4039-MMC, 1978 U.S. Dist. LEXIS 18957 (C.D. Cal. Mar. 17, 1978) (in

anticipation of the hearing upon plaintiffs’ motion for a preliminary injunction restraining a

merger, expedited discovery, including the taking of more than 20 depositions, was conducted by

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the parties); Horizon Corp. v. Anselmi, 483 F. Supp. 653, 655 (D.D.C, 1980) (expedited
discovery used where preliminary injunction was sought to enjoin defendants from soliciting
proxies from stockholders); Qwest Communications Int'l Inc. v. Worldquest Networks, inc., 213
F.RD. 418, 419 (D. Colo. 2003) (holding that a party may satisfy the “good cause” standard to
expedite discovery where the party seeks a preliminary injunction); McData Corp. v. Brecade
Communications Sys., 233 F. Supp. 2d 1315, 1316 (D. Colo. 2002) (recognizing that the court
had previously ordered expedited discovery to enable the court to rule on the plaintiff's motion
for preliminary injunction).

Here, plaintiff seeks limited expedited discovery in order to present as complete a factual
record as possible in support of its efforts to seek injunctive relief to protect CTT’s public
shareholders from being completely divested of their equity interests in the Company’s stock
without full disclosure of all material information. To prevent this irreparable injury, plaintiff
will seek a temporary restraining order or preliminary injunction until defendants have disclosed
to plaintiff and the Class all material information in connection with the Proposed Acquisition.
The information disclosed to date concerning the Proposed Acquisition has been materially
deficient. Because the Siemens tender offer is to expire at midnight on April 28, 2005, the
challenged transaction will be completed before plaintiff can obtain discovery through the
nomnal course of litigation, good cause exists for expedited discovery.’ Under these exigent
circumstances, the only possible way plaintiff and the other CTI public shareholders can ensure
that all material information is disclosed to them is if the Court grants plaintiff the nght to seek
discovery on an expedited basis.

B. Defendants’ Breaches of Fiduciary Duty Warrant Expedited Discovery

5 Pursuant to Tennessee Rules of Civil Procedure, defendants’ responses to plaintiff's document requests, wil]

not become due until May 16, 2005.

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The need for expedited discovery is magnified here by defendants’ breaches of the duty
of candor and full disclosure. See, e.g., Malone v. Brincat, 722 A.2d 5, [1 (Del. 1998) ("Phe
duty of directors to observe proper disclosure requirements derives from the combination of the
fiduciary duties of care, loyalty and good faith.”). The full disclosure obligation attaches
specifically to proxy statements and any other disclosures in contemplation of stockholder
action. Stroud v. Grace, 606 A.2d 75, 85 (Del. 1992). In connection with mergers and/or tender
offers, “[s]hareholders are entitled to be informed of information in the fiduciaries’ possession
that is material to the fairness of the price.” Eisenberg v. Chicago Milwaukee Corp., 337 A.2d
1051, 1059 (Del. Ch. 1987). This obligation is enforced “[w]hen the directors of the tender
target company communicate with the shareholders, for example, through a Schedule 14D-9,”
and requires them to, “while complying with their ever-present duties of due care, good faith and
loyalty, communicate honestly.” In re Siliconix Inc., 8 ‘holders Litig., No. 18700, 2001 Del. Ch.
LEXIS 83, at *36 (Del. Ch. June 19, 2001) (emphasis added}. Indeed, courts have voiced a
“strong preference” for enjoining a merger prior to it being consummated, rather than trying to
“nnscramble the eggs” after a merger is approved. Med. Imaging Ctrs. of Am., Inc. v.
Lichtenstein, No. 96-0039-B(AJB), 1996 U.S. Dist. LEXIS 22362, at *12 (S.D. Cal. Feb. 29,
1996); ODS Techs., LP. v. Marshall, 832 A.2d 1254, 1262 (Del. Ch. 2003) (court held that it is
appropriate to address material disclosure problems through the issuance of a preliminary
injunction that persists until the problems are corrected to avoid having to “unscramble the eggs”
after the vote).

In this case, defendants’ disclosures in the Tender Offer Documents concerning the
Proposed Acquisition have been materially deficient because, among other reasons, they (i) have

failed to include any information concerning the underlying analyses performed by the

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Company’s financial advisor, Bear Sterns, in connection with the rendering of its fairness
opinion; and (ii) have failed to disclose material information regarding the financial windfall to
defendants from the immediate vesting and exercisability of otherwise unvested and
unexercisable stock options, restricted stock, stock units and warrants as a result of the Proposed
Acquisition. This type of information is routinely disclosed in merger-related documenis
because, as Delaware courts have held, without such information, shareholders are unable to
determine the adequacy of the price and process of the offer. See In re Pure Res., Inc., S’hoiders
Litig., 808 A.2d at 449; Alidina, 2002 Del. Ch. LEXIS 156, at *37.

In Pure Resources, for instance, the court noted that “courts must be candid in
acknowledging that the disclosure of the banker’s ‘fairness opinion’ alone and without more,
provides stockholders with nothing other than a conclusion, qualified by a gauze of protective
language designed to insulate the banker.” 808 A.2d at 449 (emphasis added). Likewise, in
Alidina, the court quoted Pure Resources in stating that “stockholders are entitled to @ fair
summary of the substantive work performed by the investment bankers upon whose advice the
recommendations of their board as to how to yote on a merger or tender rely.’” 2002 Del. Ch.
LEXIS 156, at *37 (citation omitted).

Here, just as in Pure Resources and Alidina, CTI’s public shareholders will be unable to
determine what value, if any, to place upon the fairness opinion issued by Bear Sterns unless
defendants disclose information about the underlying analyses performed by their advisors.
Without this material information, and the full-information regarding the insiders’ financial
conflicts, CTI’s public shareholders cannot make a fully-informed decision whether to tender

their shares.

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Similarly, Delaware law requires that defendants fully disclose the material information
regarding the. CTI insiders’ financial conflicts of interest. Zirn v. VLI Corp., 681 A.2d 1050,
1056 (Del. 1996) (“fiJn addition to the traditional duty to disclose ali facts material to the
proffered transaction, directors are under a fiduciary obligation to avoid misleading partial
disclosures.”). By disclosing that defendants will receive the immediate vesting and
exercisability of otherwise unvested and unexercisable stock options, restricted stock, stock units
and warrants as a result of the Proposed Acquisition, without disclosing the amounts of these
benefits, defendants have made a materially misleading partial disclosure.

Accordingly, these disclosure deficiencies warrant the granting of plaintiff's request for
expedited discovery pursuant to the schedule proposed below.

[V. THE LIMITED EXPEDITED DISCOVERY PLAINTIFF SEEKS

Plaintiff requests that the Court grant (i) expedited document production, (ii) expedited
depositions, and (iii) an expedited hearing on plaintiff's anticipated motion for preliminary
injunction.’ Plaintiff respectfully submits that an appropriate schedule would be as follows:

1. Within three (2) calendar days of an Order granting limited expedited
discovery, but not later than April 11, 2005, defendants should produce the following documents
from January 1, 2004 (except as otherwise noted) to the present:

(a) CTYs Board and committee meeting minutes with attachments and
materials reviewed at the meetings, insofar as the materials relate to the Proposed Acquisition (or
any other offer or merger), employment agreements, stock options, or the potential acquisition of

or business combination with any other possible acquirer of CTL:

4 The discovery plaintiff seeks will be limited in purpose and conducted under time constraints.

Accordingly, plaintiff requests that any discovery ordered by this Court be without prejudice as to its rights to
conduct further discovery should it become necessary in the future.

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(b) All materials given to or received from any of CTT’s or Siemens’
financial advisors relating to the Proposed Acquisition or the potential acquisition of or business
combination with any other possible acquirer of CTT,

(c) Computer printouts summarizing to date the CTI executives’ and
directors’ options holdings, options exercised, options vested and not vested, option grant dates,
option vesting schedules, and option prices;

(d) All documents concerning any business or personal relationships,
affiliations, or ownership interests by or between any CTI directors (or entities with which any
CTI directors are associated), Siemens, or any company in which Siemens has or had any
ownership interest within the last 5 years;

{e) Monthly and quarterly executive packages or any other documents
containing CTT’s historical and projected operations and financial performance;

(f) All materials relied upon by defendants or in their possession
concerning: (i) whether the Proposed Acquisition is fair to CTI’s shareholders from a financial
point of view; (ii) any potential acquisition of or business combination with any other entity, and
(iii) CTY’s current and future finances;

(g) All communications between defendants, defendants’ financial
advisors, and/or any other entity expressing interest in acquiring CTI, and all communications to
or from defendants concerning any potential acquisition of or business combination with any
other entity; and

(nh) Any employment agreements, severance packages and/or change-
in-control agreements (and any amendments thereto since CTI’s last proxy statement) with CTI,

Siemens or any related entity concerning defendants or CTI executives.

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2. Defendants should make the following persons available for deposition

between the dates of April 14, 2005 and April 18, 2005: °

(a) Ronald Nutt, Ph.D.;

(b) = Terry D. Douglass, Ph.D.;

{c} Michael E. Phelps, Ph.D, and

(d) The person most knowledgeable at Bear Stearns concerning the
Proposed Acquisition.

3. In this case, the interests of justice also require an expedited hearing
on plaintiff's anticipated motion for preliminary injunction because plaintiff and the class
will be irreparably harmed absent judicial intervention. Accordingly, given that the
tender offer closes at midnight on April 28, 2005, plaintiff requests that the Court
schedule a hearing on plaintiff's anticipated motion for injunctive relief on April 27,
2005. Furthermore, in light of this hearing date and the expedited discovery schedule
above, plaintiff proposes to file its opening brief in support of its anticipated motion for
preliminary injunction on April 21, 2005, with an answering brief due April 25, 2005 and
areply brief due April 26, 2005.

V. CONCLUSION

In sum, given the time constraints in this action, the material information that defendants
have failed to disclose to CIT’s public shareholders, and the irreparable injury to those
shareholders that will result absent judicial intervention, plaintiff respectfully requests that the
Court grant plaintiff's motion for limited expedited discovery and an expedited hearing and

briefing schedule on plaintiff's anticipated motion for preliminary injunction, as set forth herein.

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DATED: April 5, 2005 ARNETT, DRAPER, & HAGOOD

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing has been
sent, via hand delivery to Hunton & Williams, and via facsimile to Alston & Bird, LLP on this
5th day of April, 2005.

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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE

SIXTH JUDICIAL DISTRICT ATKNOXVILIE
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CITY OF MONROE EMPLOYEES’ Case No. 163762-3 Sk re
RETIREMENT SYSTEM, On Behalf of "og c
Itself and All Others Similarly Situated, CLASS ACTION a OS
Plaintiff, PLAINTIFF’S AMENDED oboe
FOR EXPEDITED DISCOVERY

CTI MOLECULAR IMAGING, INC., et

al.,

V5.

Defendants.

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Plaintiff hereby moves the court for an order expediting discovery as set forth in
Plaintiff's Memorandum in Support of its Amended Motion for Expedited Discovery filed
contemporaneously herewith. Absent court intervention, the shareholders of CTI Molecular
Imaging, Inc. (“CTI” or the “Company”), a Delaware corporation headquartered in

oxville, Tennessee, will be forced, by midnight on April 28, 2005 — to decide whether to
accept a patently inadequate tender offer of $20.50 per share for their CTI shares (“Proposed
Acquisition”) by Siemens AG (“Siemens”). April 28, 2005 is long before an answer to the
complaint or discovery responses are due, hence absent expedited discovery, Plaintiff will
not be able to present the Court with a complete factual record for the Preliminary Injunction
motion that Plaintiff plans to file before the close of the tender offer.

Given that CTT’s shareholders will be irreparably injured if required to decide whether
to tender their shares without the benefit of all required material information, fundamental
notions of fairness without question weigh decisively in favor of Defendants being required
to make discovery available a few days or weeks earlier than they otherwise will have to.
Accordingly, Plaintiff's motion for limited expedited discovery should be granted.
DATED: April 7, 2005 ARNETT, DRAPER, & HAGOOD

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and exact copy of the foregoing has been
sent, via facsimile and U.S. Mail, postage prepaid, to the following parties in interest this

7th day of April, 2005.

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